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                EXHIBIT 3
                            Case 3:17-mc-80026-LB Document 12-4 Filed 03/14/17 Page 2 of 2
     Jeffrey Abrams
     Harder Mirell & Abrams
     132 S. Rodeo Drive (4th Floor) 4th Floor Beverly Hills, CA 90212
                                                                                                          1225.020
   GORDON D. SCHABER COURTHOUSE
    STREET ADDRESS: 720 9TH STREET                                                                  SUMMARY OF SERVICE
   CITY AND ZIP CODE: SACRAMENTO, CA 95814                                                            JOB COMPLETE
        BRANCH NAME:
        CASE NUMBER: 14-CV-02490-PHX-ROS                                                                CW180118
     John Hurry,et al                                                                                   1 PROCESS
        vs.
     Financial Industry Regulatory,et al                                                                COMPLETED BY
                                                                                                       Matthew Anderson
                                                                                                       2/15/2017 8:11 PM
                                                                                                             Reference No.:
                               PROOF OF DELIVERY                                                              1225.020

    DOCUMENTS SERVED:

    Deposition Subpoena2-14;


                  PARTY SERVED:            William Meagher

      DATE & TIME OF SERVICE:              2/15/2017
                                           8:11 PM

    ADDRESS, CITY, AND STATE:              90 Village Cir
                                           San Rafael, CA 949034244

        PHYSICAL DESCRIPTION:              Age: 60'S Weight: 250 Hair: GREY Sex: Male Height: 5'10 Eyes: Race: C

MANNER OF SERVICE:
  Personal Service - By personally delivering copies to William Meagher.




                                           COURT FILINGS | SERVICE OF PROCESS | REPROGRAPHICS
                                                  PDF/FAX FILINGS | MESSENGER SERVICES

              NOT A PROOF OF SERVICE | SUMMARY OF SERVICE | NOT A PROOF OF SERVICE
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                                                PROOF OF DELIVERY
                                                                                                                       Matthew Anderson
                                                                                                                    County: Marin County
                                                                                                                     Registration No.: 97
